 

To be argued by
LEON H. TRACY
(15 minutes)

SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION : SECOND DEPARTMENT

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THE PEOPLE OF THE STATE OF NEW YORK
: HEARD ON THE
Respondent, ORIGINAL RECORD
~against- Ind. No. 2822/08
: * Docket No. 2009-08850
RASHAWN PENDER,
Nassau County
Defendant-Appellant.
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BRIEF FOR DEFENDANT-APPELLANT

 

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BEING UNSUPPORTED AND AGAINST THE WEIGHT OF THE
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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION : SECOND DEPARTMENT

THE PEOPLE OF THE STATE OF NEW YORK, :
Respondent,
~against-
RASHAWN PENDER,
Defendant-Appellant. :
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STATEMENT PURSUANT TO RULE 5531

 

1. The Indictment Number in the Court below is 2822/08.
2. The Docket Number is 2009-08850.

3. The full names of the original parties are The People of the
State of New York against Rashawn Pender. Rashawn Pender is the
only party to this appeal.

4.. This action was commenced in the County Court, Nassau, by
the filing of an indictment December 15, 2008.

5. This appeal is from a judgment convicting appellant, after
trial by jury, as follows: murder in the second degree;
attempted robbery in the first degree; and criminal possession
of a weapon in the second degree (two counts).

6. This is an appeal from a judgment rendered September 1, 2009
(Robbins, J.).

7. Appellant has been granted poor person relief and this
appeal is not being perfected by the appendix method.
PRELIMINARY STATEMENT

 

This is an appeal from a judgment of the County Court,
Nassau County, rendered on the 11th day of September 2009,
after a trial by jury, convicting the defendant as follows:
count two, murder in the second degree, a class A-1l violent
felony, P.L. §125.25, Subdivision 3; count three, attempted
robbery in the first degree, a class C felony, P.L.
§110/160.15, Subdivision 2; count five, criminal possession of
a weapon in the second degree, a class C felony, P.L. §265.03,
Subdivision 3; and count six, criminal possession of a weapon
in the second degree, a class C felony, P.L. §265.03,
Subdivision l(b) (T. 783 - 785).1

The defendant was sentenced as a persistent felony
offender (S. 17): count two, murder in the second degree, 25
years to life; count three, attempted robbery in the first
degree, 16 years to life; count five, criminal possession of a
weapon in the second degree, 16 years to life; and count six,
criminal possession of a weapon in the second degree, 16 years
to life. The sentences are to run concurrently with each other,
and a period of post-release supervision was imposed on the
three C felonies (S. 19 - 20).

Restitution was ordered by civil judgment in the amount of

 

1 Numerical references preceded by "H" are to the hearing
minutes; those preceded by "T" are to the trial minutes; and
those preceded by "S" are to the sentence minutes.

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nn

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$2,149.62 for the benefit of the Crime Victims Board. There was
a mandatory surcharge of $250, a $50 DNA fee, and a $25
crime victims’ assistance fee imposed by civil judgment (S.
20).

Timely notice of the appeal was filed. The Court granted
the appellant leave to prosecute the appeal as a poor person on
original papers and typewritten briefs. By Order, January 4,
2010, Leon H. Tracy, Esq. was assigned as counselor on appeal.

Upon information and belief, no application has been
made for a stay or bail pending appeal, and appellant is
presently incarcerated, pursuant to the Judgment herein
appealed, at Clinton Correctional Facility, Dannemora, New

York.
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QUESTIONS PRESENTED

 

1. WHETHER THE PEOPLE FAILED TO PROVE THE DEFENDANT COMMITTED
THE CRIMES CHARGED AS THE EVIDENCE WAS OF INSUFFICIENT
WEIGHT, AND THE TESTIMONIES OF THE WITNESSES WERE
INCREDIBLE, INCONSISTENT, AND UNRELIABLE, THE VERDICT BEING
UNSUPPORTED AND AGAINST THE WEIGHT OF THE EVIDENCE, IN
VIOLATION OF THE DEFENDANT'S CONSTITUTIONAL RIGHTS TO
BE CONVICTED ONLY WHERE GUILT HAS BEEN ESTABLISHED BEYOND A
REASONABLE DOUBT.

2. WHETHER THE WRITTEN STATEMENT MADE BY THE DEFENDANT SHOULD
HAVE BEEN SUPPRESSED AS THE EVIDENCE PROFFERED BY THE PEOPLE
DID NOT ESTABLISH THAT THE DEFENDANT WAS GIVEN HIS MIRANDA
WARNINGS.

3. WHETHER THE UNDULY HARSH AND EXCESSIVE SENTENCES IMPOSED ON
THE DEFENDANT SHOULD BE REDUCED IN THE INTEREST OF JUSTICE.
STATEMENT OF FACTS

 

Introduction

The people maintain that the defendant, Rashawn Pender,
aided and abetted by others, on October 25, 2008, attempted to
commit a robbery, causing the death of Andre Scott, and a
weapon was used to shoot the victim.

PRE-TRIAL PROCEEDINGS

 

Suppression Hearing 6/19/09 - 6/24/09

 

People’s Case

According to the people, Detective Edward Hoctor, Shield
No. 854, responded on October 25, 2008, about 12:30 A.M., toa
shooting at 45 Jackson Avenue, Hempstead, near Terrace Avenue,
to a three story apartment complex. He went through the lobby
where he encountered police officers near the body of a black
male, Andre Scott. Scott was found lying at the bottom of a
stairwell in a pool of blood (H. 17 - 20).

Hoctor was informed that the shooting had occurred on
floor B, and the victim had been dragged down the staircase,
leaving a trail of blood. On floor B, Hoctor saw signs of the
shooting, and he noted an east/west hallway with a little bend,
a zigzag to the east side, of the hall. Some of the witnesses
were handcuffed to be taken to headquarters for interviews.
Beer bottles, hats, plastic cups, and a white Styrofoam cup

were recovered by the police. The cup was forwarded to the
Latent Fingerprint Section for testing (H. 20 - 21, 66 - 67, &
69).

At the scene, Hoctor interviewed Lucia Vance who explained
that a party had been held for her nephew on floor B and that
she had been in the hall with others, including children. She
had seen a group from Terrace Avenue, including the defendant -
-known as “Ra Ra,” Derek Cullum --known as “D-nice,” Theron
. Rhodes --known as “Junior,” Slick, G-Low, and Brian Allen.
Ricky Dingle and Angelo McDeegan were also on the floor. Vance
‘did not see the defendant with a gun or having anything to do
with the robbery and homicide (H. 22, 71, & 77).

Vance also had observed five or six males from Elmont, —
among them Andre Scott, in the presence of three females. The
males from Terrace Avenue left the hallway and when they
returned, about 30 minutes later, they had two guns. There was
tension between the males from Terrace and those from Elmont.
Vance claimed that the two guns were not the ones used in the
shooting as she had them in view when she heard two or three
shots fired (H. 22 - 23 &-73). Hoctor was told by Vance to
speak with “Junior” and “Ra Ra” to find out what happened (H.
91).

Vance had seen Rhodes and Allen with guns about the time
the shots were fired (H. 77 - 78). In addition to Scott being

fatally shot, Vance’s niece had a graze wound and Daniel Smith
was shot in the arm (H. 23). Hoctor spoke with Daniel Smith and
Greg Bailey, friends of the deceased at the scene. Smith was at
the east end of the hallway, and he saw the defendant in the
hallway at the time of the incident. About 1:30 A.M., at the
Homicide Squad, Smith identified the defendant from a photo
array. Smith never mentioned being shot by the defendant or
that the shooter wore a red hoodie (H. 24, 26 - 27, 87, & 90).

Bailey claimed that he was walking down the hallway with
Scott, having been invited to the party, and they were
confronted by a group of males when shots were heard. On
hearing shots, he began to run eastward. Hoctor also spoke with
Bailey at the Homicide Squad later in the morning, and he noted
Bailey was upset as his friend Scott was killed (H. 25 & 26).
Bailey had never mentioned that someone in a red hoodie fired a
weapon (H. 135).

Surveillance videos were recovered from 45 Jackson, 100
Terrace, and 67 Terrace Avenues. A few minutes before midnight,
the 45 Jackson Avenue tape showed Rhodes leaving the building,
but the defendant was not identified leaving the building nor
was any other person. The tape from the 100 Terrace Avenue
showed the defendant entering the location, October 25, 2008,
12:23 A.M. wearing a red hooded sweatshirt, taking the elevator
to his apartment on the fifth floor. Within two minutes, the

tape showed the defendant exiting his apartment in a gray

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sweatshirt (H. 30 - 33 & 74 - 75).

On October 30, 2008, Detective Mark Garry, Shield No. 971,
transported Bailey from his home to the Homicide Squad to view
a photo array, and he identified the defendant. Bailey related
to Garry and Hoctor, that at the time of the shooting, he went
past a group of males, including the defendant, when he heard
someone yell, “Give it up.” Then shots were fired, and Bailey
fled down the staircase near the apartment. The deceased was
Bailey’s friend (H. 169 -175).

Bailey related to Garry that he had seen the defendant at
the bend in the hallway as he passed. He was next to the
decedent when he heard “Give it up” and he heard a gunshot.
Bailey never mentioned that he saw the defendant or anyone else
with a gun. He had not known the defendant prior to making the
identification. Bailey had been in police custody when he made
the identification of the defendant. Garry did not know if
“Witness #4” had asked for consideration in exchange for his
identification (H. 184 - 187 & 195).

On November 4, 2008, Hoctor and Detective Richard Lawson,
showed a photo array to “Witness #3,” and he identified the
defendant as having worn a red hoodie and shooting a gun on
floor B, at the time of Scott’s murder (H. 33 - 34 & 141).

On November 11, 2008, Hoctor re-interviewed Smith after

several unsuccessful attempts to do so, claiming the time with

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Smith had been brief, but it was actually 13 hours. Smith had
not provided much information during what Hoctor claimed were
initial brief interviews as he had been upset about the death
of Scott. Scott’s family had asked Smith to help the police,
and he had agreed to be re-interviewed. During the second photo
array procedure, Smith named the defendant, as wearing a red
hoodie and being the shooter (H. 37 - 41 & 101).

Also on November 11, 2008, Hoctor received information
from the Latent Fingerprint Section that the white Styrofoam
cup that was recovered, in a pool of blood, at the scene had a
latent fingerprint impression, identified as belonging to the
defendant (H. 42). The police were given instructions to take
the defendant into custody (H. 43).

On November 18, 2008, 10:00 P.M., the defendant was in
front of 100 Terrace Avenue when he was arrested by Detective
Thomas Salerno, Shield No. 33, and other detectives. The
defendant was transported to the Homicide Squad. There was no
conversation during the ride, and no threats or promises were
made to the defendant (H. 158 - 162).

The defendant was interviewed by Detective James J.
Hendry, Shield No. 897, and Detective Michael O’Leary on
November 18, 2008, 10:28 P.M. Hendry read the defendant his
Miranda rights from a printed card. The defendant signed the

PDC 233 card that he was willing to speak with the officers,

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and they signed too. The card had the date May 18, 2008 (sic)
and the time on it, added after the fact, but Hendry claimed
that nothing was added to the card after November 18, 2008 (H.
196 - 203). He did admit that the date and time were added
after the defendant signed the card (H. 203 & 230).

Hendry took pedigree information and discussed the events
of October 24, 2008 and October 25, 2008 related to the
incident. Initially, the defendant denied being at the scene.
When he was confronted with information about the video and
witnesses of his presence at the scene, he told the officers
that he had gone to the party and met the man running it,
getting a beer from him. Hendry used O’Leary’s notes to refresh
his memory as he testified (H. 205 - 208).

The defendant related that Cullum had gone to obtain a
gun, and they went to rob a guy, not from Hempstead. It was
claimed by the defendant that two or three shots rang out, and
all he heard was, “You got the wrong guy, you shot the wrong
guy.” (H. 210) Although Hendry made reference to the
defendant’s use of the word “they,” he acknowledged that at no
time did the defendant indicate that he was planning to commit
aa robbery or that he was involved with the robbery or shooting
(H. 236).

The interview was reduced to a four page written statement

at 3:10 A.M., ending at 4:45 A.M., November 19, 2008. No

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corrections were made by the defendant when he was given the
statement to read, and he signed it. The statement was written
by O'Leary, and each page was signed by Hendry and O’Leary (H.
211 - 212).

At. 6:15 A.M., after the statement was taken, the defendant
was requested to give a video taped statement to an assistant
district attorney, but he declined to do so. He signed a
refusal form prepared by Hendry, indicating his refusal (H. 213
- 214). Breaks were given to the defendant during the
interview, and the defendant was afforded the opportunity to
use the bathroom facilities. He was asked if he wanted anything
to eat or drink, and he was given a coke. No weapons were
displayed and no threats or promises were made to obtain the
defendant’s waiver of Miranda rights and obtain his written
statement. About 5:58 A.M., the defendant telephoned his
mother, Esther Ford, from the Homicide Squad (H. 219 - 222).

Hendry did the interrogation of the defendant, and O'Leary
took notes. O’Leary prepared a timeline of the interview, but
there: is no indication of the advisement of rights to the
defendant in his notes or the timeline. The people stipulated
to that effect. Hendry maintained that there was nothing that
transpired during the interview that was not reflected in
O’Leary’s notes, and the timeline prepared by O'Leary

accurately reflected what transpired during the interview (H.

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224 - 227). The notes reflected that breaks were taken, but
the timeline was absent of any reference to any breaks (H. 233
- 234).

At the Homicide Squad, November 19, 2008, 1:55 A.M.,
Hoctor showed a photo array to Tashawn Wilson. The defendant
was already in custody when Wilson made a confirmatory
identification of him. Wilson had been at the scene of the
shooting, and he knew the defendant. He claimed that Cullum,
Rhodes, and the defendant, known as “D-nice,”, “Junior,” and
“Ra Ra” respectively, confronted the victim in the hallway (H.
44 - 46).

At 3:30 A.M., November 19, 2008, “Witness #2,” who knew
the defendant, gave Hoctor an account of what had occurred on
the date of the incident. He was shown a photo array, and he
identified the defendant as being in the hallway at the time of
the shooting. He also knew Cullum and Rhodes (H. 51 - 55).

At 12:15 P.M., November 19, 2008, Theron Rhodes,
implicated in the attempted robbery that resulted in the death
of Scott, was in custody. He related that Cullum, the
defendant, and he had been in the hallway at the time of the
incident. Rhodes, without admitting his involvement, said the
defendant pulled out a silver revolver from his sweatshirt or
his pants, stepping in front of the victim, and then Rhodes

heard shots. Rhodes knew the defendant well, and he identified

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him from a photo array (H. 56 - 61).

On November 19, 2008, 5:41 P.M., Hoctor claimed to have
received a fax that the defense counsel appeared for the
defendant, and shortly before, about 4:30 P.M., counsel spoke
with Hoctor noting that interrogation of the defendant was to
cease. Hoctor claimed he notified that information to O’ Leary
although the interrogation had already ceased. Hoctor denied
that at 6:15 P.M. O’Leary approached the defendant to conduct a
video statement, and Hoctor became aware of it. Hoctor claimed
that it was 6:15 A.M. albeit it was listed in Hoctor’s notes
after the A.M. call and fax from the defense counsel (H. 147 -
152).

On November 21, 2008, 9:30 P.M., Garry and Hoctor showed a
photo array to “Witness #4.” A statement had been taken from
this witness related to the incident at 45 Jackson Avenue, and

then the witness viewed the array, identifying the defendant

'(H. 175 - 178).

Defendant's Case

Esther Ford, the mother of the 20 year old defendant,
resided at 100 Terrace Avenue, the defendant living with her.
She was called by his wife Shakira, about 10:00 P.M., November
18, 2008, that her son was being taken into custody. At the
first floor of her building, she was informed by two police

officers that her son and others had been arrested for smoking

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marijuana in the building exit, and she observed an officer
carrying a sandwich bag of marijuana (H. 240 - 243 & 250).

An officer told Ford that the defendant was being taken to
the police armory to be given a desk appearance ticket. She
went to the armory with Shakira, calling from the outside
telephone, and an officer responded. He related that it would
take some time to release the defendant as others had been
arrested with him, and so she went home (H. 243 - 244).

Not hearing anything by midnight, she returned to the
armory with Shakira, but no one answered the telephone when she
called. Ford then went to the Hempstead Police Department on
Center Street with Shakira, and she was told that the defendant
was at the Third Precinct. Shakira went into the precinct about
1:30 A.M., November 19, 2008, and she was given a number and
informed the defendant was-in homicide (H. 245).

The defendant’s mother called homicide, being told that
the defendant was there. When she inquired as to the reason,
she was informed that the defendant would be in Court the next
morning, being charged with association. Returning home, Ford
received a call from the defendant about 4:00 P.M, and she
called an attorney (H. 246 - 247 & 260).

Hearing Decision 6/30/09

 

The Court determined that there was probable cause for the

arrest of the defendant: the totality of circumstances;

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eyewitnesses; video surveillance tapes; and a cup at the scene
with the defendant’s fingerprints.

The Court also determined that there was no factual basis
to support the conclusion that the identification procedures
with the photo arrays were suggestive. Further, some of the
photo array identifications were only confirmatory as the
defendant was known to the witnesses. The photo arrays that
were used had persons with characteristics that did not greatly
differ from the defendant. Nothing especially drew a viewer’s
attention to him.

Further, the Court determined that the oral statement
provided by the defendant and reduced to a written statement
was voluntarily made after a knowing and intelligent waiver of
his rights. The defendant’s claim that the statement given by
the defendant should be suppressed as he was isolated from is
family is unpersuasive. He was 20 years old at the time of his
arrest, legally an adult, and there was no requirement that his
family be present during police interrogation.

THE TRIAL
People’s Case

The people contend that on October 24, 2008, extending
into the early morning hours of October 25, 2008 (T. 40), there
was a birthday party for the eight year old son of Deborah and

Jordan Vance (T. 42). It was held at 45 Jackson Avenue, floor B

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apartment 18, of a building complex near Terrace Avenue (T. 40
& 319), and even uninvited people from the neighborhood came,
guests milling around in the hallway (T. 43).

Andre Scott, a 23 year old male from Elmont (T. 40), was
invited to the party, and he arrived, wearing jewelry and
carrying drugs (T. 44 & 117), with some friends. Around
midnight, as Scott and his friends came out of the elevator,
into the hallway on floor B, there was an attempt to rob Scott
at gunpoint (T. 43 - 44).

Scott was accosted by a group from Terrace Avenue
including: the defendant, Rashawn Pender, nicknamed “Ra Ra;”
Derek Cullum, nicknamed “D-nice;” and Theron Rhodes, nicknamed
“Junior.” (T. 44). A male identified by the street name as
Stuggs was sought in connection with the incident, but the
police were unable to locate and arrest him (T. 45 & 301).

As Scott attempted to flee into a zigzag portion of the
hallway, running toward the apartment, he was fatally shot in
the left side of his neck (T. 47). The wound perforated the
left carotid artery and internal jugular vein (T. 168). Scott,
bleeding profusely, tried to escape, tumbling down a staircase
(T. 48). Daniel Smith and Shaniqua Houseworth had minor gunshot
wounds (T. 48). A bullet fragment, .38 or .357, was removed
from Scott’s body (T. 141 & 145).

There were cups, bottles, and two hats on the floor in the

19
blood covered hallway (T. 86). A Styrofoam cup, a plastic cup
and Scott’s black leather Yankee cap (T. 100, 108, & 291), were
recovered where the shooting took place (T. 104). The Styrofoam
cup had the latent fingerprint of the defendant (T. 129). There
was blood on top and underneath the cup (T. 116)..There was
also blood on the floor and walls splattered from the body of
someone at the scene (T. 303).

According to the testimony of Rhodes, an 18 year old
witness for the people (T. 198), the defendant, wearing a red
hoodie (T. 207 & 211), had a silver revolver (T. 209), and
Cullum, also wearing a red hoodie (T. 211), had a black
revolver (T. 209). Cullum had decided to rob Scott and his
friends (T. 205), and he discussed it with Rhodes, outside the
presence of the defendant (T. 221).

Rhodes had not seen the defendant until after Cullum
decided to do the robbery (T. 207). Cullum obtained his weapon
by making a call to a person named Stuggs (T. 209). The
defendant, Cullum, and Stuggs were in the zigzag of the
hallway, east of the elevator (T. 208 - 209). Rhodes alerted
the defendant and Cullum when Scott and his friends were coming
down the hallway (T. 209), toward the zigzag portion, in the
direction of the party.

Cullum, in back of Scott the entire time, had stopped

Scott from behind, putting the gun to Scott’s back (T. 210 &

20
223), and the defendant put the gun in front of Scott (T. 210).
Rhodes did not see who fired the shots (T. 210), but he told
the police that he believed that it might have been Cullum (T.
225). Rhodes had heard Cullum say during the attempted robbery,
“Give it up.” (T. 233)

Rhodes and Cullum ran downstairs near the elevator after
the shots were fired (T. 228). Cullum used the fire escape to
gain entrance into the window of Rhodes’ apartment and Rhodes .
used the fire escape, going to the downstairs exit into his
house (T. 211 & 229). Cullum took his clothes off, and he threw
them in Rhodes’ closet (T. 230). Rhodes did not see what Cullum
did with Stuggs’ gun, not knowing if Cullum returned it to
Stuggs on floor B (T. 232).

Rhodes admittedly served as the “lookout” when Scott and
his friends exited the elevator and were confronted, but when
the guns were drawn, he walked away (T. 226). He had a
cooperation agreement with the district attorney regarding his
participation in this felony murder in the second degree to
give truthful testimony or face 15 years (T. 202 & 233). Rhodes
pled guilty to attempted robbery in the first degree, having a
sentence of seven years imposed (T. 200 & 218). He could have
faced a sentence of 25 years to life (T. 218).

According to Derek Cullum, a 20 year old witness for the

people, he was at the party with his good friend Rhodes (T. 425

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- 426 & 462), and he had a discussion with the defendant about
a potential robbery. The defendant said, “Good, I got the gun
on me,” and the defendant showed Cullum a silver revolver. The
defendant was wearing a red hoodie, and Cullum was wearing a
red hoodie, white designs on the front and back, and a hat,
both of them wearing the hood down. (T. 429 - 430, 505, & 513).

Rhodes called Stuggs to get another gun, meeting him
downstairs a little before midnight, and Cullum asked him to
see it when they came upstairs, putting the gun in his pocket.
When Cullum had the gun, he was near the zigzag area of the
hallway with Theron, Stuggs, the defendant, and a few other
males, and he did not know if the defendant still had his gun
(T. 431 - 432).

Cullum was not surprised when Rhodes called Stuggs for his
gun although he had not seen Rhodes with a gun before. Although
Cullum knew how to fire a gun, he never had possession prior to
the night of the incident (T. 443 - 444).

At about midnight, everybody started moving toward the
zigzag area, and Cullum saw two males, he called victims,
walking down the hallway and the defendant pulling out his gun.
The defendant, his gun at his side asked, “Do you know what
time it is?” and Cullum then pulled out his gun, claiming he
pointed it at the victim’s back, from a distance of four feet.

One of the accosted males ran, and Cullum returned the gun to

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Stuggs before shots were fired. The defendant shot the fleeing
male in the neck/head area (T. 432 - 433, 454, 472, & 476 -
478).

Cullum claimed that the defendant had taken out his gun,
holding it-.down in his right hand, and he had held his left
hand out asking if the victim knew what time it was. When Scott
started to run on the defendant’s right side, he switched the
gun to his left hand, raised it, and shot (T. 506 & 519 -
520).

The defendant had been to the right of the victim, and he
had pivoted shooting him (T. 483 - 485). The defendant had
pointed his gun around the middle of the neck, more to the left
side (T. 508). In the video statement, Cullum never stated that
the defendant switched the gun from his right to his left hand.
He had stated that he pointed the gun with his right hand (T.
511 - 512). |

Cullum ran after the first shot (T. 433). Using the stairs
(T. 468), he exited the building near the superintendent’s
office, running to Rhodes’ home at 67 Terrace Avenue and: using
the fire escape. Entering the window, he opened the door to
Rhodes’ apartment to admit him (T. 434 - 435). In Cullum’s
written statement, Rhodes climbed the roof, using the fire
escape, and he entered the building, his mother opening the

apartment door for him (T.552).

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During cross-examination, Cullum claimed that Rhodes used
a fire escape to enter his apartment as he did not have a key
to enter the building (T. 488). There was a buzzer at the front
door, but Cullum and Rhodes never attempted to enter Rhodes’
building at the front. Rhodes’ mother was home, but he did not
call her since he believed that she was not home (T. 499).

Cullum denied that he had changed his clothes when he got
to Rhodes’ apartment (T. 488). In the written statement Cullum
stated that he and Rhodes remained in the apartment, spending
the night, but on cross-examination, he claimed to have left
the apartment with Rhodes, going to the front of the building
(T. 489 -492 & 552).

Cullum participated in the robbery attempt and was in
possession of a handgun, but he did not believe that he would
be arrested (T.447). He expected to get money and had no
reservation about doing a robbery (T. 509 - 510). When Cullum
was arrested for felony murder, he faced a sentence of 25
years to life. He gave written and video statements, and he
entered into a cooperation: agreement, pleading guilty to
attempted robbery, a class C violent felony, with a 13 year
sentence committed if he gave truthful testimony (T. 437 -
438).

Cullum recounted the events of the incident at least three

times, the written and video statements and his trial

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testimony. In the written statement, Cullum claimed that he
gave the gun back to Stuggs after the defendant had fired a
shot, and Cullum claimed on cross-examination that he had
informed the police that was not so, but it was not changed in
the statement. In the written statement Cullum claimed that the
defendant had pointed his gun when he asked, “Do you know what
time it is?” (T. 450 - 455 & 479).

When the victim entered the hallway from the elevator,
with his friends, Cullum was with Rhodes and Stuggs. Cullum
came around behind the victim slightly to the right, Stuggs was
on Cullum’s left. In the video statement, Cullum claims that
Stuggs was next to him the whole time. The defendant was in
the zigzag. Cullum had taken out his gun, pointing it at the
victim, when he saw the defendant had taken out his gun. The
victim’s friend ran, and Cullum claimed that the defendant then
shot the victim (T. 457 - 458, 462 - 464, & 474).

Cullum claimed the robbery was planned by Rhodes, the
defendant, himself, and others. Cullum was not surprised that
Rhodes claimed that the robbery was discussed outside the
presence of the defendant (T. 457 - 458). Cullum claimed that
he gave the gun back to Stuggs, after only about 10 seconds, as
he had a change of heart. In his written statement, Cullum
claimed that he gave the gun to Stuggs, after the shooting (T.

552), because Stuggs wanted it, and within about five seconds,

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he heard shooting, not knowing if Stuggs raised the gun at
anyone (T. 465 - 467 & 478).

According to Detective Mark Garry, Shield No. 971, Cullum
had informed him, during his interview, that the gun he had
held was a black .38 revolver (T. 523, 551, & 559). Garry drew
a diagram that he reviewed with Cullum (T. 553), and Cullum
acknowledged to Garry that when the defendant announced, “You
know what time it is,” Cullum was slightly behind Scott, just
to the left of Scott’s ear (T.559).

On a map of the hallway that had corrections, created
during Cullum’s interview with Garry, Cullum indicated and
signed that Stuggs was with the defendant in the zigzag (T. 469
- 473). During cross-examination, Cullum claimed that Stuggs
followed him when he went behind the victim, taking a position
standing next to him. In the video statement, Cullum claimed
that Stuggs started off in front of the victim, with the
defendant, and he walked over to him when the victim started to
run, but he denied that on cross-examination (T. 500).

Eight year old Marlon Oliphant, a third grader who was
held over to repeat the third grade (T. 178 - 179), claimed
that the shooter was wearing a red hoodie with a zipper down
the middle and that he met the defendant on the street with his
mother, Deborah Pollard Vance (T. 190, 194, & 241). It was

acknowledged by Marlon that the “guy’ in the red hoodie had

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come out of the stairwell and started shooting (T. 246).

When he saw the shooter, Marlon had been standing near his
apartment (T. 247). Marlon had spoken with the police “a lot”
about the incident (T. 191), and he did not know what he was
supposed to say as a witness. He believed that if he lied he
would be “kicked out of the courtroom.” (T. 183)

Color surveillance videos at 100 Terrace Avenue (T. 267 &
276), across the street from the incident, showed the
defendant, wearing a red hooded sweatshirt (T. 296), enter the
lobby about 12:01 A.M. (T. 52). He got on the elevator, about
12:03 A.M., getting off at the fifth floor where he lived (T.
275 & 297). |

At about 12:06 A.M., he appeared on the elevator wearing a
- gray hooded sweatshirt (7. 53 & 273). No blood was-seen on the
defendant’s person in the surveillance video (T. 279). The only
person who could be identified as fleeing from the scene on the
surveillance tapes of 45 Jackson Avenue was Rhodes (T.309).

The defendant, was arrested on November 18, 2008, about
10:00 P.M. at Terrace Avenue, and he was taken to the Homicide
Squad in Mineola (T. 280 - 281). He was the first participant
in the incident to be arrested, and Rhodes and Cullum were
arrested the following day. Stuggs was not found by the police
(T. 299 - 301). |

The defendant was taken to the Homicide Squad by the

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police, and he was placed in an interview room about 10:28 P.M.
with Detective Michael O’Leary, Shield No. 256 and Detective
James J. Hendry (T. 369 & 374). The defendant was not advised
that he was the target of a murder investigation and being
charged with felony murder (T. 402). Hendry conducted the
interview and O’Leary took notes and also prepared a time line
(T. 398 - 399). The defendant was read his Miranda rights (T.
375), going through them in two minutes (T. 404). The interview
was not recorded, and after the police took a statement, they
asked the defendant to make a video (T. 401).

Henry stated that initially, the defendant denied being at
the scene of the incident, relating two versions of going to
get Tylenol for his wife that evening T. 383 - 385). Ultimately
he admitted going to the party at 45 Jackson Avenue, on the
second floor, having a bottle of beer and seeing Junior
(Rhodes) and Derek (Cullum) hanging out in the hallway (T.
386).

Derek had informed the defendant that he was going out to
get his shit, meaning to get his gun, and Derek and Junior
left. When they returned to the hallway, Derek pulled out a
silver colored .32 revolver. The defendant heard three shots
and someone saying, “You shot the wrong guy.” The defendant
then ran out of the building (T. 387).

O'Leary did not include the advisement of rights in the

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notes or timeline (T. 400). The defendant initialed the rights
card multiple times, regarding important issues, to memorialize
that he had acknowledged receiving his rights. He did not
initial the time and date that the rights were administered.
The time and date that the rights were administered were added
after the defendant acknowledged the card (T. 401).

The defendant was not asked to acknowledge the other
versions of that night that he had related and were recorded in
O’Leary’s notes, prior to admitting his presence at the
incident (T. 404). The defendant cooperated at the interview
(T. 406). He refused to do a video interview (T. 407).

Detective Edward Hoctor, Shield No. 854, the lead
investigating officer of the incident (T. 288 & 315, was
informed by Vance that Rhodes had been seen, prior to the
shooting, with a silver gun in his pocket (T. 304).

Tashawn Wilson, a witness at the scene had seen Cullum
with a gun, Rhodes and the defendant down the hall (T. 316).
Hoctor discounted what Wilson said about what had transpired as
it was not possible to see what happened from his vantage point
in the doorway of the apartment 18B (T. 319)).

Mark Burgess, another witness at the scene, also informed
Hoctor that Cullum had a gun, mentioning the involvement of
Rhodes and the defendant in the incident, and Hoctor claimed

the Burgess information was unreliable (T. 358 - 359). A

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statement had also been given to the police by Smith, the
witness at the scene who had been shot, but it was recanted (T.
361).

A statement was given to Hoctor by Sherwayne Sealey, when
Sealey was arrested on another matter (T. 335) ..Hoctor had been
aware that the murder weapon was a .38 or .357 when Sealey
claimed that the defendant pulled out a chrome gun, pointing at
the deceased (T. 337 - 338). Hoctor did not recall that Sealey
had specified the type of weapon although Sealey’s statement
specified a .38 or 357 (T. 339). Hoctor believed that Sealey
expected a benefit for his statement, but Hoctor was not in a
position to offer a benefit (T. 340).

Nothing in Hoctor’s investigation had revealed that the
defendant had a gun on the night of the incident at the party
on the B floor (T. 305). Hoctor claimed that the defendant had
been the only one wearing a red sweatshirt. Hoctor did not
recall that he had made a note about Cullum also wearing a red
sweatshirt although he had crossed Cullum’s name out, changing
it to be the defendant’s name (T. 312 - 313).

Defendant’s Case

The defendant testified on his own behalf. He admitted
that he had pled guilty to a felony in 2006 and again in 2008.
He denied killing Andre Scott, having a gun, and being involved

in the robbery on the night of the incident, October 23, 2008

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(T. 580 -581). The defendant was enrolled in a GED program to
help him find a job (T. 595).

The defendant admitted knowing Rhodes and that that “there
was no bad blood between them,” in response to the people’s
inquiry (T. 592). The defendant also admitted that he had no
problems with Cullum, Deborah Pollard Vance, Vance’s son Marlon
Oliphant, or Deb (Shaniqua Houseworth’s mother). He denied
knowing Sherwayne Sealey (T. 593).

Between 10:30 and 11:00 P.M., he had gone to the store to
purchase Tylenol for his wife’s headache (T. 582), meeting an
acquaintance who told him about a party at 45 Jackson Avenue.
He stopped off at the building, entering up a stairwell from
the back of the building, and he was given a bottle of beer by
Jordan Vance, not recalling if he drank from a Styrofoam cup.
Derek (Cullum) and Junior (Rhodes) were standing in the
hallway, on floor B, among others (T. 584).

The defendant was standing with them smoking weed,
drinking beer, and hanging out. Derek and Junior left to get
something, and when they returned they stood near the window
for two minutes when two guys showed up (T. 582 - 584). The two
guys stopped in the middle of the hallway. Derek came up behind
Scott, bending down to put the beer down, and Scott started
running toward the window (T. 585).

As he started to run, Derek came up behind him. The

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defendant, his friend Payne on the right side of him, his
friend Angelo on the left side of him, moved toward the corner
to get out of the way. That is when gunshots were fired, and
they ran to the exit, going toward the elevator, after the
hallway zigzag (T. 582 - 584).

The defendant went home directly (T.585), entering his
building through the lobby and using the elevator, aware that
there were video cameras in those areas (T. 585 - 586). When he
entered his apartment and removed his red hooded jacket (T.
604), his wife started arguing with him about where he had
gone, the defendant not wanting to hear it because of what
happened at 45 Jackson Avenue and because his wife got on his
nerves (T. 586 - 587).

He started to leave, his wife snatching his jacket, and he
grabbed a gray hoodie, one of the hoodies hanging on his
bedroom door, going outside (T. 587 - 588). The police never
searched his house for the red jacket (T. 588).

When the defendant was arrested, the police did not tell
him that he was being charged for murder. They just started -
asking him questions. He did not waive his rights, just signing
the card and agreeing to speak to them, using a map for some of
his explanations (T. 589). Other than the written statement,
the defendant gave no other versions of the events related to

the incident (T. 589).

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A couple of days after the incident, the defendant met the
woman he had referred to as Deb, Shaniqua Houseworth’s mother
(T. 606), in his written statement. Her daughter had been shot
during the incident (T. 607). She needed two dollars for the
bus, and the defendant, having no change, gave her $10. She
threw parties at her home in the neighborhood (T. 590).

After the statement, the detectives eventually allowed the
defendant to call his mother (T. 589). A video interview was
offered to the defendant, hours after he gave his statement (T.
590).

Verdict and Sentence

 

The verdict was guilty of count two, murder in the second
degree; count three, attempted robbery in the first degree;
count five and count six criminal possession of a weapon; not
guilty of count one, murder in the second degree; and count
four, attempted robbery in the first degree (T. 783 - 784).

The defendant was sentenced as a persistent felony
offender (S. 17) for murder in the second degree, 25 years to
life; attempted robbery in the first degree, 16 years to life;
criminal possession of a weapon in the second degree, 16 years
to life; and criminal possession of a weapon in the second
degree, 16 years to life. The sentences are to run concurrently
with each other, and a period of post-release supervision was

imposed on the three C felonies (S. 19 - 20).

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POINT ONE

THE PEOPLE FAILED TO PROVE THE DEFENDANT COMMITTED THE
CRIMES CHARGED AS THE EVIDENCE WAS OF INSUFFICIENT
WEIGHT, AND THE TESTIMONIES OF THE WITNESSES WERE
INCREDIBLE, INCONSISTENT, AND UNRELIABLE, THE VERDICT
BEING UNSUPPORTED AND AGAINST THE WEIGHT OF THE
EVIDENCE, IN VIOLATION OF THE DEFENDANT'S
CONSTITUTIONAL RIGHTS TO BE CONVICTED ONLY WHERE GUILT
HAS BEEN ESTABLISHED BEYOND A REASONABLE DOUBT.

The defendant-appellant, Rashawn Pender, maintains his
innocence, denying that he is not guilty of the murder in the
second degree, attempted robbery in the first degree, and two
counts of criminal possession of a weapon in the second degree. As
the evidence adduced at trial was of insufficient weight, as well
as being inconsistent and contradictory, the people failing to
sustain their burden of proving the defendant's guilt beyond a

reasonable doubt. See, U.S. Const., Amend. XIV; N.Y. Const., Art.

I, Sec. 6; Jackson v. Virginia, 443 U.S. 307, 310 (1979). A careful

 

review of the evidence supports that he is not guilty.

The people's case rested mainly on insufficient and unreliable
evidence, and as such, at the conclusion of the people's case, the
defense made a motion for a trial order of dismissal, for each of
the counts, as there was insufficient evidence, the people failing
to prove all the elements of the case beyond a reasonable doubt (T.

574 - 576). See, People v. Thomas, 36 N.Y. 2d 29 (1974).

 

On making a motion for dismissal, the defense counsel had
contended that there was insufficient credible evidence to finda

conviction for robbery and murder. There was no credible evidence

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that the defendant had even been in possession of a weapon. The
assault charges related to Shaniqua Houseworth were never
established by the people nor were those related to Daniel Smith as
neither party testified and no evidence was adduced that their
injuries were caused by the defendant.

The Court dismissed the seventh, eighth, ninth, and tenth
assault counts (T. 578 - 579), and the jury found the defendant not
guilty of count one and count four (T. 783). It is steadfastly
maintained by the defendant that he is innocent of count two,
murder in the second degree, count three, attempted robbery in the
first degree, and counts five and six, criminal possession of a
weapon in the second degree, contending that the people failed to
prove these charges beyond a reasonable doubt.

The defense application and argument preserved the defendant's

present claim as required. See, People v. Bynum, 70 N.Y. 2d 858,

 

859 (1987); People v. Johnson, 185 A.D. 2d 247 (2d Dept. 1992);

 

People v. Asaro, 182 A.D. 2d 823 (2d Dept. 1992). Here, the
defendant's motion and advocacy was specific enough to preserve the
defendant's right for appellate review as defined by the Courts.

See, People v. Logan, 74 N.Y. 2d 859 (1990); People v. Gomez 67

 

N.Y. 2d 843 (1986); People v. Dekle, 56 N.Y. 2d 835 (1982); People
v. Cardona, 136 A.D. 2d 550 (2d Dept. 1988). The defense clearly
made an argument in support of the motion. Accordingly, the

defendant has his claim preserved as the defense counsel presented

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a specific argument in support of the motion.

However, even if the defense failed to preserve any claim
that the evidence was insufficient to prove his guilt because his
motion failed to specify any such claim, he could still obtain this
Court's review. of such a claim if the Court exercised its interest
of justice jurisdiction as defined in C.P.L. Sec. 470.15 (6) (1).
There was insufficient evidence adduced at trial to properly draw
inferences that the defendant was guilty of the charges.

Although Appellate Courts must evaluate the proof of the
defendant's guilt by examining the evidence "in the light most

favorable to the people," People v. Malizia, 82 N.Y. 2d 755, 757

 

(1984), cert. denied, 469 US 932 (1984), the Court must
additionally consider whether the jury's determination of guilt was
against the weight of the evidence. C.P.L. 470.15 (5).

Here, the jury verdict cannot be fully supported as it is
clearly against the weight of the evidence. See, People v.
Bleakley, 69 N.Y. 2d 490, 495 (1987).The Court held in Bleakley
that there must be the satisfaction of a legal sufficiency
standard. In the instant case, there is no valid line of reasoning
or inferences that can be taken from the evidence that could lead
to the defendant’s conviction for murder, attempted robbery and
criminal possession of a weapon.

At the scene, plastic and Styrofoam cups, beer bottles, and

cigarette butts, two hats --one of them the murder victim Scott’s

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hat, and marijuana under the body of Scott were recovered T. 104,
117, & 424). No DNA profiles matched the defendant (T. 424). A
Styrofoam cup, with a latent fingerprint of the defendant’s left
middle finger was found (T. 129), in a pool of blood with blood
splatter. It did not establish with any certainty that the
defendant was in possession of a gun, that he was the shooter, or
that he participated in the attempted robbery.

The defendant did not deny his presence at the scene, near to
the shooting. He had been drinking a bottle of beer. He did not
recall using a cup (T. 598). Any cup the defendant may have used
could have been discarded on the floor and been kicked where it was
found, as the defendant and others scrambled for safety when
Cullum drew a gun. The cup was not tested for any gunshot residue
nor was the defendant’s red sweatshirt (T. 145).

Marlon Oliphant, an eight year old, testified on behalf of the
people, but he could not be a sworn witness based on his age (T.
185). He obviously could not be a credible witness. He was young,
and he had been held over in the third grade as he was a poor
student (T. 179). Marlon claimed that the defendant was the shooter
when he saw him in the street, the next day. He said that the
shooter had worn a red hoodie.

Marlon he admitted that a policeman had told him so (T. 191)
and that he also had been told that the hoodie had a zipper down

the middle (T. 194). On the witness stand, Marlon informed the

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Court that he was having trouble as he did not know what he was
supposed to say (T. 183). Obviously this child had been coached,
and his “testimony” cannot be given any weight whatsoever. Marlon’s
mother, Deborah Pollard Vance, saw the defendant in a red
sweatshirt with a hood, a hoodie, but she did not see him with a
gun (T. 153).

Theron Rhodes, known as Junior, as a participant in the
incident, facing charges of felony murder and a sentence of 25
years to life (T. 218), had pled guilty to attempted robbery in the
first degree, getting a greatly reduced sentence of seven years (T.
200). At the age of 18, he had two felony robberies (T. 212).
Clearly, Rhodes was no boy scout and his testimony minimized his
participation in the incident, claiming he merely served as a
“lookout,” walking away when the guns were drawn. Although he was a
childhood friend of Derek Cullum (T. 426), Rhodes stated his belief
that Cullum was the shooter.

According to Rhodes, the defendant and Derek Cullum were both
wearing red hoodies (T. 207 & 211), and they each had a weapon,
- Cullum, a black revolver, and the defendant, a silver revolver (T.
209). It had been Cullum’s idea to commit the robbery, and Rhodes
helped him plan it, outside the presence of the defendant (T. 207 &
220). When the shooting took place, Cullum was in back of the
victim, pointing the gun at the back of the victim’s head (T. 223).

Rhodes heard Cullum say, “Give it up.” (T. 233), and he had told

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the police that he thought Cullum was the shooter (T. 225).

Rhodes stated that Cullum stripped off his clothes, throwing
them in a closet in Rhodes’ apartment (T. 230). It would appear
that Cullum removed his clothes as he was concerned about them
being found and connecting him with the murder, very likely being
stained with the victim’s blood when Cullum shot him. Cullum
contradicted Rhodes’ claim about him changing his clothes (T. 488).
There was no motive for Rhodes to have made his claim about Cullum
divesting himself of his clothes and a strong motive for Cullum to
have denied it. Cullum and Rhodes had fled from the scene to
Rhodes’ apartment. They had used the fire escape of Rhodes’
building (T. 487), albeit Rhodes’ mother had been home and they
could have gained admission through the front entrance. No doubt
Cullum had avoided the video surveillance cameras in the building
in blood stained garments which shed on entering the apartment.

The medical examiner noted that anyone near Scott would have
had blood on him, but the surveillance video of the defendant as
he entered his building, having fled the scene, does not show any
blood on his clothing (T. 168 & 279). The defendant testified that
he had changed his red hoodie to a gray one as his wife had grabbed
the red one in an effort to deter him from going out after he
returned home from the scene (T. 587 -588).

Sherwayne Sealey made a self-serving statement to Hoctor after

he was arrested for selling drugs. Sealey claimed that the

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defendant had pulled out a gun and shot Scott, about a foot away
(T. 338). The defendant would have been bloodied, but there was no
blood discerned on the defendant in the video surveillance tape of
the defendant after the crime. Clearly, Sealey was looking for a
benefit for his “information.” (T. 340) Suspiciously, Sealey was
able to label the gun as being a .38 or a .357, the caliber of the
bullet removed from the victim’s body, information known to Hoctor
(T. 339). Sealey had been arrested, the evidence of him having sold
narcotics on November 21, 2008 on video, the charges being reduced
to possession of drugs.

Derek Cullum, a participant in the incident, facing charges of
25 years to life, had pled guilty to attempted robbery in the first
degree, getting a sentence of 13 years, a reduction of almost half
of what he had faced (T. 437 - 438). He claimed that the defendant
had been wearing a red hoodie, and he admitted that he had been
too, his having designs (T. 429). Cullum’s proffer about discussing
a potential robbery with the defendant (T. 430) was inconsistent
with his good friend Rhodes’ statement that the discussion of a
robbery was between them. Rhodes had called a “guy” named Stuggs,
unapprehended participant in this case, who delivered a gun to
Rhodes, and Cullum had taken it from him.

At the trial, Cullum was inconsistent with his written
statement, stating that after the defendant, his gun at his side

asked, Do you know what time it is?” he pointed his gun at the

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victim, He passed the gun back to Stuggs before any shots were
fired (T. 433). In his written statement, the defendant was
pointing his gun at Scott when he asked the question (T. 455), and
Cullum had given the gun to Stuggs after the defendant had fired.
There is a major disparity between when Cullum allegedly passed the
gun to Stuggs, and whether the defendant pointed the gun when he
asked the question. It destroys any confidence about the
truthfulness of his proffer as a witness for the people.

In his trial testimony Cullum’s position in the hallway was
inconsistent with what he claimed in his video statement. At the
trial Cullum contended that when Scott got off the elevator with
his friends, he was with Rhodes and Stuggs, and he came around
Scott, slightly to the right with Stuggs on Cullum’s left (T. 458).
In the video statement, Cullum stated that Stuggs was next to him
the whole time. There were significant inconsistencies and
contradictions on determinative points among Cullum’s trial
testimony, his written statement, and his video statement.

Cullum admitted that he had familiarity with a gun, knowing
how to fire it, but he maintained that the night of the incident
was the first time he had possession of one. He had learned how to
fire a gun when he was 14 years old from “older guys.” (T. 443 -
444). In an interview with a detective, Cullum had informed him
that the gun had held at the scene was a .38 revolver (T. 559). It

is significant to note that the bullet fragment recovered from

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Scott’s body was from a .38 or a .357 weapon (T. 141 & 145).

Detective Hoctor, the lead detective, was unfairly focused on
the defendant as the shooter, claiming that the defendant was the
only one who had been wearing a red sweatshirt. In fact, his notes
indicated that Cullum had been wearing a red sweatshirt, but he had
crossed it out (T. 312 - 313). Cullum himself admitted that he had
been wearing a red sweatshirt.

There had been 12 to 24 people in the hallway at the time of
the shooting, and in Hoctor’s interview with Lucia Vance, she had
informed Detective Hoctor that she had seen Rhodes with a silver
handgun in his pocket prior to the shooting (T. 304). This
undermines Rhodes’ claim that it was the defendant who had a silver
gun, and it maximizes Rhodes’ participation. Rhodes’ contention is
further undermined as Hoctor’s investigation did not reveal any
evidence that the defendant had a gun at the incident.

Despite that O’Leary, a seasoned detective and the note taker
at the custodial interview of the defendant, claimed that the
defendant had given inconsistent information, prior to giving his
written statement, there is absolutely no documentation in his
notes or in his time timeline to that effect. In fact, the
advisement of rights to the defendant at the interview, is a
subject of the suppression hearing that the defendant maintains was
denied in error by the Court (POINT TWO).

A mere scintilla, or even some proof is insufficient to create

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an issue of fact. See, People v. Oyola, 6 N.Y. 2d 262, 189 N.Y.S.

203 (1959); People v. Velella, 28 Misc. 2d 579, 216 N.Y.S. 2d 488

 

(Sup. Ct. New York County, 1961). Neither separately nor in sum
does the people's case provide the required confidence that

appellant's guilt has been established beyond a reasonable doubt.

 

See, People v. Crudup, 100 A.D. 2d 938, 939 (2d Dept. 1984); People

v. Kidd, 76 A.D. 2d 665, 668 (ist Dept. 1980); People v. McIntyre,

 

71 A.D. 2d 956, 961 (2d Dept. 1979). After viewing the weak
evidence proffered by the people in the instant matter, the Court
cannot sustain a conviction. Here, as in Crudup, Kidd, and
McIntyre, the conviction of the defendant cannot be sustained as
the defendant's guilt was not demonstrated beyond a reasonable
doubt.

The testimonies of the two key witnesses, Theron Rhodes, and
Derek Cullum, the “deal-makers” who supposedly were obliged to tell
the truth or lose the deals, were inconsistent and contradictory
with each other. All of the evidence proffered by the people’s
witnesses is inconsistent and contradictory about the details
relating to the shooter and the incident. The trial evidence failed
to prove that the defendant was guilty of the charges. The evidence
was insufficient to establish, beyond a reasonable doubt, that he
was the shooter or even a participant in the crime. Clearly, the

conviction of the defendant was against the weight of the evidence.

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In exercising its statutory authority of a factual review of a
case to determine if a verdict is against the weight of the
evidence, the Court must consider that a different determination of
the jury would have been reasonable based on all the evidence as
delineated in C.P.L. 470.15 (5) and as determined in People v.
Bleakley, 69 N.Y. 2d 490 (1987). It is clear that the verdict in
this case is against the weight of the evidence. The jury did not
have a rational basis on which to base their verdict. Its decision
is not supported by the record, being against the weight of the

evidence.

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POINT TWO
THE WRITTEN STATEMENT MADE BY THE DEFENDANT SHOULD HAVE BEEN
SUPPRESSED AS THE EVIDENCE PROFFERED BY THE PEOPLE DID NOT
ESTABLISH THAT THE DEFENDANT WAS GIVEN HIS MIRANDA WARNINGS.
The interview of the defendant by Detective James J. Hendry
was custodial in nature, requiring the administering of Miranda

warnings, according to the guidelines established in this seminal

case, Miranda v. Arizona, 384 U.S. 436 (1966). The Court determined

 

that the police must provide a set of expedient warnings to ensure
that an individual in custody and subject to interrogation by law
enforcement officers is not deprived of his constitutional rights.

The Court held that if the police intended to use any
statements made by a suspect in court, that suspect must first be
advised of his rights including: the right to remain silent; the
right to be told that anything that he stated could and would be
used in court; the right to the assistance and the presence of an
attorney; and the provision of and attorney if he could not pay for
counsel.

In the case at bar, the people did not establish that the
defendant was given his Miranda warnings, and as such, the oral and
written statement obtained from the defendant should have been
suppressed. Albeit Detective Hendry testified that he administered
the warnings to the defendant, prior to the defendant being
interrogated and giving a statement, his testimony belies this was

the case.

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Hendry’s testimony demonstrated that he had little if any
recollection of the interview with the defendant despite having
been in charge of the interview, asking the questions as Detective
Michael O’ Leary took notes. During Hendry’s cross-examination,
testimony, his responses were almost wholly dependent on the notes
taken by O’Leary. Hendry admitted that O’Leary did not note all
that transpired during the interview.

In response to the defense counsel’s inquiry if O’ Leary noted
everything that transpired during the interview of the defendant,
Hendry replied in the negative (T. 225). Although Hendry did review
the notes with O’Leary, he clearly stated, in response to the
defense counsel’s inquiry what occurred at the interview that was
not included in the notes, “I don’t know.” (H. 225).

Hendry subsequently responded in the negative to the defense
counsel’s inquiry if anything happened during the interview of the
defendant that was not reflected in O’Leary’s notes, contradicting
his own testimony (T.225). Detective O’Leary’s notes makes
absolutely no reference to the defendant having been given Miranda
warnings.

O’ Leary prepared a timeline of the interview of the defendant,
and there is no mention whatsoever of Hendry administering the
warnings to the defendant in the notes. Assistant District Attorney
Christopher Holbrook stipulated to the fact that the notes were

absent of the advisement of rights to the defendant (H. 227).

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Hendry’s reliance on O’Leary’s notes and his contradiction
within his own testimony of what the notes, on which he relied,
detailed, do not provide the required evidence that the defendant
had been advised of his constitutional rights, prior to his
custodial interview.

In addition, Hendry admitted during his cross-examination that
the date and time indicated on the notification of rights card,
PDCN 233, were curiously added by O’Leary subsequent to the
defendant allegedly signing the card. When the defendant supposedly
signed the rights card, the date and time were not indicated that
he was to be acknowledging (H. 230).

The rule is clear that the Fifth Amendment of the U.S.
Constitution requires that Miranda warnings must be given prior to
any custodial interrogation regardless of whether an individual is
suspected of committing a felony or misdemeanor. See, State v.
Buckholtz, 11 Ohio St. 3d 24, 462N.E. 2d 1222.

Although it is custodial interrogation which sets in motion
the requirement for Miranda warnings, the right to remain silent
and to request assistance of an attorney may attach even as early

as the investigatory period. See, Edwards v. Arizona, 451 U.S. 477

 

(1980).
In the case at bar, evidence obtained from the interview, oral
and written statements, should have been suppressed as the people

failed to sufficiently establish that the defendant was apprised of

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his constitutional rights prior to being interviewed. A statement
obtained in violation of the defendant's Miranda rights is
inadmissible as evidence-in-chief if the trustworthiness of the

statements does not satisfy legal standards. See, Harris v. New

 

York, 401 U.S. 222, 91 S.Ct. 643; People v. Ricco, 56 N.Y. 2d 320;

See also, People v. Walker. 110 A.D. 2d 730.

 

In the instant matter, Hendry obtained an oral statement that
he reduced to a written statement. Since Hendry’s proffer does not
establish that he administered warnings to the defendant, violating
the defendant's constitutional right, the statement he obtained
should have been deemed inadmissible. Thus, the hearing court erred

in failing to suppress the defendant's oral and written statements.

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POINT THREE

THE UNDULY HARSH AND EXCESSIVE SENTENCES IMPOSED ON
DEFENDANT SHOULD BE REDUCED IN THE INTEREST OF JUSTICE.

After a trial by jury, the defendant was found guilty and
sentenced as a persistent felony offender as follows: murder in
the second degree, a class A-1 violent felony, P.L. §125.25,
Subdivision 3, 25 years to life; attempted robbery in the first
degree, a class C felony, P.L. §110/160.15, Subdivision 2, 16
years to life; criminal possession of a weapon in the second
degree, a class C felony, P.L. §265.03, Subdivision 3, 16 years to
life; and criminal possession of a weapon in the second degree, a
class C felony, P.L. §265.03, Subdivision 1(b), 16 years to life.
The sentences are to run concurrently with each other, and a period
of post-release supervision was imposed on the three C felonies.

The defendant was found not guilty on the first count, murder
in the second degree, P.L. §125.25, Subdivision 1 and the fourth
count, attempted robbery in the first degree, P.L. §110/160.15,
Subdivision 4 (T. 783). The seventh, eighth, ninth, and tenth
charges against the defendant for two counts of assault in the
second degree, P.L. §120.05, Subdivision 2 and two counts of
assault in the second degree, P.L. §120.05, Subdivision 6,
respectively, were dismissed by the Court, on the defense counsel’s
motion for a trial order of dismissal (T.578).

Although the sentences imposed on the defendant are within

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the statutory limits, they are unduly harsh and excessive, in the
extreme. The attempted robbery resulting in the death of Andre
Scott cannot be construed in any way as innocent behavior, and it
should not be cavalierly condoned. However, the maximum sentences
that the defendant received were draconian under the circumstances.
The death of Andre Scott was a tragedy, but the defendant’s guilt
as the shooter is clearly in question as it was against the weight
of the evidence (POINT ONE).

The evidence proffered by Derek Cullum clearly demonstrated
that he was the shooter in the unfortunate incident, and nonetheless
he was given an opportunity to plead to 13 years as a participant.
Theron Rhodes, the other participant was given an opportunity to
plead to seven years. Cullum and Rhodes received much lesser
determinate sentences than the maximum indeterminate sentences of
the defendant. The defendant was not given an opportunity to plead
and was unjustly labeled the shooter.

The trial court unfairly exercised its discretion in
sentencing the defendant to maximum sentences. Thus it is
appropriate for this injustice to be corrected. The Court has the
power to correct the extreme sentences imposed. ‘Extraordinary

circumstances” warrant interference, by this Court, with the
discretion of the lower court, in the interest of justice. See,

People v. Roman, 84 A.D. 2d 851 (2d Dept. 1981); People v. Suitte,
90 A.D. 2d 80, 86 (2d Dept. 1982).

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In the instant case, an examination of the record reveals that
the findings of the lower court did not demonstrate a fair and
careful consideration of the specific factors of the case, and as
such, it is appropriate to give no deference to the capricious
sentences imposed on the defendant. Since the defendant was treated
unfairly by the lower court, this abuse of discretion, in
sentencing the defendant, merits review by the Court: and a
compelling reason to reduce the defendant's sentences.

In the interest of justice, the defendant's sentences should

be reduced as the lower court abused its discretion. See, People

v. Suitte, 90 A.D. 2d at 83. Although sentencing is primarily a

function of the trial court, People v. Feliz, 58 N.Y. 2d 156, 161
(1983), this Court may modify the sentences "as a matter of
discretion in the interest of justice" in accordance with C.P.L. §
470.15 (3).

It is maintained by the defendant-appellant that the Court
abused its discretion in imposing these sentences. In the review of
the appellant's sentence, this Court has the right to modify the
sentences as the trial court clearly abused its sentencing

discretion. See, People v. Davis, 92 A.D. 2d 177, 181 (lst Dept.

 

1983), aff'd., 61 N.Y. 2d 202 (1984); People v. Whiting, 89 A.D. 2d
694 (3d Dept. 1982).
Here, the Court's "sentence-review power may be exercised if

the interest of justice warrants, without deference to the

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sentencing court." See, People v. Delgado, 80 N.Y. 2d 780 (1992).

 

In the instant matter, the Court's sentence-review power should be
invoked as the sentences were a clear abuse of discretion. See,

People v. Junco, 43 A.D. 2d 266, 268 (lst Dept.), aff'd., 35 N.Y.

2d 419 (1974), cert. denied, 421 U.S. 951 (1975).
In addition, the Court's sentence-review power may be
exercised here, as determined in Delgado, if there are

"extraordinary circumstances." See also, People v. Patterson, 83

 

A.D. 2d 380 (3d Dept. 1981). The remedy of "extraordinary
circumstances" to "rectify sentencing disparities, to reach

extraordinary situations and to effectively set sentencing

 

criteria" was formulated in People v. Suitte, 90 A.D. 2d 80, 86 (2d
Dept. 1980).

In the matter before this Court, "extraordinary
circumstances" exist warranting the downward modification of the
appellant's sentences. Here, the participants in the incident were
granted deference in sentencing despite their culpability and the
defendant labeled the shooter being against the weight of the
evidence.

The defendant-appellant, 21 years of age at sentencing,
struggled throughout his youth with a drug addiction to marijuana
and alcoholism, since the age of 14. The only job the he held was
in 2004 as a helper at Checkers, earning $5.15 an hour, and he has

been financially supported by his mother.

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As the defendant was a high school “drop out” he has limited
employment skills, and he has not been able to obtain employment.
Hopefully, the appellant can earn a High School Equivalency Diploma
(GED) or receive vocational training during his incarceration. In
People v. Carter, 47 A.D. 2d 583 (4th Dept. 1975), the defendant’s

sentence was reduced where appellant had only completed the ninth
grade and had no vocational skills.

The defendant is devoted to his wife and mother, and since
the appellant has close connections with them, he can be expected

to benefit from these relationships. In People v. Feliciano, 125

 

A.D. 2d 364 (lst Dept. 1987) and People v. Aquila, 121 A.D. 2d 888
(lst Dept. 1986), courts have cited "strong family ties" in
reducing sentences.

Generally, there are four principles that have been accepted
as objects of criminal punishment in the Courts of this State:
deterrence; rehabilitation; retribution; and isolation. See, People
v. Notey, 72 A.D. 2d 279 (1980). Permeating, if not overriding
these principles are two other salient factors: "minimum
confinement" and "personal status."

It is these latter factors that warrant a downward
modification from the maximum sentences that the defendant is now
serving in the New York State Department of Correctional Services
at Clinton Correctional Facility.

The ABA Standards Relating to Sentencing Alternatives and

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Procedures, Section 2.2 (relied upon by the Court in Notey)
enunciates, as a general principle of judicial discretion, the
following:

The sentence imposed in each case should call for

the minimum amount of custody which is consistent

with the protection of the public, the gravity of

the offense and the rehabilitative needs of the

defendant.

Now it is not the intention of the defendant-appellant
appellant to avoid responsibility or unduly diminish the
seriousness of the matter herein. The offenses, for which the
appellant herein was convicted, are not to be casually condoned.
However, in the realistic panoply of the penal law. spectrum, the
defendant’s crimes did not warrant the harsh and excessive maximum
sentences in light of the circumstances of the case. A reduction of
sentences is sought in the interest of justice.

Surely, the defendant is in need of a treatment program and
in need of vocational education, but this conviction did not
warrant the extreme indeterminate punishment that he received. This
appellant is deserving of help to recover from his substance abuse
and to receive education expedient to obtain gainful employment.

It is abundantly clear that the Appellate Division may review a
sentence imposed in a criminal case, and upon considering the
relevant facts and circumstances, determine in the exercise of its

discretion that the said sentence, in the case at bar, was unduly

harsh and severe and thereupon reduce said sentence. See, People v.

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Coleman, 30 N.Y. 2d 582 (1973); People v. Zuckerman, 5 N.Y. 2d 401

 

(1959).

It is within the authority of the Appellate Division to
substitute its sentencing discretion for that of the trial court
which failed, in the instant matter, to give proper balanced
consideration to the information at its disposal. C.P.L. § 470.15 @).;

People v. Sanchez, 131 A.D. 2d 606, 608 (2d Dept. 1987).

 

Appellate courts have declined to disturb a sentence
absent "extraordinary circumstances." People v. Brown, 115 A.D.

2d 485, 486 (2d Dept. 1985); People v. Patterson, at 380.

 

However, it is clear that "extraordinary circumstances" exist
here warranting a reduction in the appellant's sentences. There is
the urgent, persuasive movement, in the appellant's favor, of the
ABA's “rehabilitative needs" and of the Notey "personal status"
criteria. These almost literally clamor for reduced sentences.

It is true that retribution is still a valid sentencing goal,
but so too is a defendant's rehabilitative needs. See, People v.
Burgh, 89 A.D. 2d 672 (1982). As underscored in Notey, "We cannot
ignore the personal status of the defendant as the most significant
factor in the sentencing process." Id., at 950.

It is clear that retribution is no longer the dominant

objective of criminal law. Zett, New York Criminal Practice, 1973,

 

Volume 6, p. 45, follows the prevalent modern philosophy of

penology, "The punishment should fit the offender and not merely

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the crime."

It is not in keeping with the policy of New York State of
using prison sentences to encourage rehabilitation, not to exact
punitive vengeance. The sentence should be modified by this Court
pursuant to C.P.L. § 470.15 (2) (c). In the interest of justice,
the legal minimum or reduced sentences should be considered by this

Court.

CONCLUSION

FOR ALL THE FOREGOING REASONS, THE JUDGMENT OF CONVICTION
SHOULD BE REVERSED AND THE INDICTMENT DISMISSED, OR THE
CONVICTION REVERSED AND THE CASE REMANDED FOR A NEW
TRIAL, OR THE SENTENCE REDUCED.

    

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Dated: August ‘2

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CERTIFICATE OF COMPLIANCE WITH 22 NYCRR SEC. 670.10.3(f)

LEON H. TRACY does hereby certify as follows: This appeal
brief was prepared by computer, on behalf of Rashawn Pender, the
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Dated: Jericho, New York
August 2010 vy

  

 

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